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UNITED sTATEs DIsTRiCT COURT ` *‘Wf
wEsTERN DISTRICT oF TENNESSEE _
Western Division *'*"“' l l r"g‘.": 5: fin

 

UNI'I`ED STATES OF AMERICA

-v- Case No. 2:04cr20460-B

CI-IRISTOPHER M. WALDEN

 

ORDER SETT|NG
CONDITIONS OF RELEASE

lT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) Tlie defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed 'I'he defendant shall next appear for Arraignment in the United States Couithouse and
Federal Building in Courtroom Conrtroom # M-3 on Wednesday May 18, 2005 at 9:30ain

ADD|T|ONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Oft`ice.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

AO 199A Order Selting Condltions of Re|ease 'l'

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The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor, This sentence shall be in addition to any other sentence,

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf` you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.

S1gnature of Defendant

Christopher M. Walden
8676 Rhonda Circle, North
Cordova, TN 38018

(901) 624-7478

DlRECTlONS TO THE UN|TED STATES MARSHAL

y The defendant is ORDERED released after processing

|:| The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied With all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

para May11,2005 AA=@/Mra /( ZJ@/Wé'/

DIANE K. VESCOVO
UNI'I`ED STATES MAGISTRATE J`UDGE

AO iSSA Order Selting Conuitions of Re|ease “2'

 

WESRTEN

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
May ll, 2005 to the parties listed

 

Tirnothy R. DiScenZa

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FEDERAL PUBLIC DEFENDER
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Honorable J. Breen
US DISTRICT COURT

